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                                                                                          BILL A. BUSBICE, JR., OLLA PRODUCTIONS,
                                                                                      8   LLC, and ECIBSUB, LLC
                                                                                      9                        UNITED STATES DISTRICT COURT
                                                                                     10                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                     11                                WESTERN DIVISION
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                                                                                     13   BILL A. BUSBICE, JR., an individual;        Case No. CV 14-4077 PA (AJWx)
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                                                                                          OLLA PRODUCTIONS, LLC, a limited            consolidated with CV 14-7063 PA
                                                                                     14   liability company; and ECIBSUB, LLC,        (AJWx)
                                                                                          a limited liability company,
                                                                                     15                                               Magistrate Judge Andrew J. Wistrich
                                                                                                         Plaintiffs,
                                                                                     16
                                                                                                  v.                                  DECLARATION OF THOMAS
                                                                                     17                                               H. PROUTY RE: PLAINTIFFS’
                                                                                          JAMES DAVID WILLIAMS, an                    RESPONSE TO DEFENDANTS’
                                                                                     18   individual; et al.,                         SUPPLEMENTAL FILINGS FOR
                                                                                                                                      IN CAMERA REVIEW OF
                                                                                     19                  Defendants.                  ALLEGEDLY PRIVILEGED
                                                                                                                                      DOCUMENTS
                                                                                     20
                                                                                                                                      Discovery Cut-off: July 27, 2015
                                                                                     21   AND RELATED CONSOLIDATED                    Trial Date: October 6, 2015
                                                                                          ACTION.
                                                                                     22
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                                                                                                DECLARATION OF THOMAS H. PROUTY RE: PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                                                                                             SUPPLEMENTAL FILINGS FOR IN CAMERA REVIEW OF ALLEGEDLY PRIVILEGED DOCUMENTS
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                                                                                      1           I, Thomas H. Prouty, declare as follows:
                                                                                      2           1.     I am an attorney admitted to practice before this Court. I am an
                                                                                      3   attorney at the law firm of Troutman Sanders LLP, counsel for Plaintiffs Bill A.
                                                                                      4   Busbice, Jr. (“Busbice”), Olla Productions, LLC, and Ecibsub, LLC (collectively,
                                                                                      5   “Plaintiffs”) in this action. I have personal knowledge as to all matters set forth
                                                                                      6   herein, and if called to testify as a witness, I could and would do so.
                                                                                      7           2.     Attached hereto as Exhibit A is a copy of the Final Arbitration Award
                                                                                      8   in the Big Screen Partners V, Ltd. v. Luxe One, Inc. arbitration before the American
                                                                                      9   Arbitration Association, dated May 16, 2015.
                                                                                     10           3.     Attached hereto as Exhibit B is a true and correct copy of an excerpt of
                                                                                     11   Defendant Steven J. Brown’s (“Brown”) responses to Plaintiffs’ first set of
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                                                                                     12   interrogatories. (See Response to Interrogatory Nos. 3-6.)
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                                                                                     13           4.     In September 2014, Plaintiffs propounded a comprehensive set of
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                                                                                     14   requests for production of documents, which required Brown and the other
                                                                                     15   Defendants to produce all documents relating in any way to the subject films and
                                                                                     16   investments, including any work performed, or services rendered, by Brown.
                                                                                     17   Although Defendants’ counsel has represented that Defendants’ production is
                                                                                     18   complete, Defendants have produced no documents showing what Brown was
                                                                                     19   asked to do, if anything, and what he allegedly did, in connection with the subject
                                                                                     20   films and investments:
                                                                                     21                 No contracts or agreements of any kind with or involving Brown have
                                                                                     22                   been produced; and
                                                                                     23                 No communications (emails, text messages, letters, etc.) involving
                                                                                     24                   Brown regarding any work performed (or to be performed) by him, or
                                                                                     25                   services rendered (or to be rendered) by him, have been produced.
                                                                                     26           5.     Other than a handful of documents drafted by Plaintiffs’ lawyers that
                                                                                     27   must have been forwarded to Brown around the time the lawsuit was filed,
                                                                                     28   Defendant Brown’s document production in this lawsuit consists entirely of only
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                                                                                                DECLARATION OF THOMAS H. PROUTY RE: PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                                                                                             SUPPLEMENTAL FILINGS FOR IN CAMERA REVIEW OF ALLEGEDLY PRIVILEGED DOCUMENTS
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                                                                                      1   twenty-five e-mails. I have reviewed each of these e-mails. None of them indicate
                                                                                      2   that Brown performed work and services in connection with the film projects and
                                                                                      3   investments. Rather, the e-mails appear to simply represent the few
                                                                                      4   communications that Brown did not mind producing, either because of their
                                                                                      5   innocuousness, or because Plaintiffs were the sender or a recipient (and therefore
                                                                                      6   already had them):
                                                                                      7                  18 of the 25 e-mails are from March 2014 or later, after almost all
                                                                                      8                    of Plaintiffs’ money had already been converted and spent. 17 of
                                                                                      9                    these 18 e-mails involve plaintiff Bill Busbice (or Busbice’s
                                                                                     10                    representative, e.g., accountant) as a sender or recipient, and the
                                                                                     11                    only one that does not, is heavily redacted;
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                                                                                     12                  Of the seven e-mails that pre-date March 2014, five of them
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                                                                                     13                    involve Busbice as a sender or recipient; and
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                                                                                     14                  None of the 25 e-mails (or, for that matter, of the other documents
                                                                                     15                    produced by any other defendant) reflect that Brown performed any
                                                                                     16                    work or services in connection with the subject film investments.
                                                                                     17           6.    Plaintiffs have obtained via subpoena hundreds (if not thousands) of
                                                                                     18   relevant e-mails sent or received by Brown that Defendants failed to produce, but
                                                                                     19   these e-mails also fail to show that Brown provided actual and legitimate business
                                                                                     20   services to or for the subject film investments.
                                                                                     21           7.    Attached hereto as Exhibits C and D, respectively, are true and correct
                                                                                     22   copies of e-mails produced by third party Creative Artists Agency in response to a
                                                                                     23   subpoena issued by me in this lawsuit.
                                                                                     24           I declare under penalty of perjury under the laws of the United States of
                                                                                     25   America that the foregoing is true and correct. Executed on May 26, 2015 at Irvine,
                                                                                     26   California.
                                                                                                                                          /s/ Thomas H. Prouty
                                                                                     27                                                   Thomas H. Prouty
                                                                                     28
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                                                                                                DECLARATION OF THOMAS H. PROUTY RE: PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                                                                                             SUPPLEMENTAL FILINGS FOR IN CAMERA REVIEW OF ALLEGEDLY PRIVILEGED DOCUMENTS
